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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY



 UNITED STATES                           :     Crim, No.      10-851    (SOW)

              v.                               Hon. Dennis M.      Cavanaugh

 STEPHEN DEPIRO,    et al,

                         NONDISCLOSURE CQNSENT ORDER

              This matter having been brought before the Court upon

 application of Paul J.       Fishman,   the United States Attorney for

 the District of New Jersey       (Anthony J. Mahajan, Assistant United

 States Attorney,    appearing),    for a nondisclosure order relating

 to the grand jury transcripts of witness testimony,                   and for good

 cause shown,

              IT IS on this 7’day of 2012

              ORDERED that the grand jury transcripts of witness

 testimony produced to the defendants in this case may not be

 disseminated beyond the defendants,            their attorneys and their

 attorneys’    legal staff.




                                                 • DENNIS M,
                                              United States                     Judge
                          _________




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CONSENTED TO BY:




Couns 1 for Defendant




   thony Iahaj an
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  CONSENTED TO BY:




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  Anthony Mahajan
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  CONSENTED TO BY:




  Counsel for Defendant




  Anthony Mahajan
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Anthony Mahajan
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  CONSENTED TO BY:



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  Counsel for Dendant ,yL, 11’ ,°9M’1t
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